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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------------X

  YAIR ISRAEL BABAYOFF,
                                                                          20-CV-4538 (WFK)(RLM)
                                      Plaintiff,
                -v.-                                                      Date of Service:
                                                                          June 9, 2023__

  PRO COVERAGE GROUP, INC.,
  and BRANDON MARGOLIS,

                                      Defendants.
  -------------------------------------------------------------------X




                DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT




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                                          PRELIMINARY STATEMENT

             Defendants, Pro Coverage Group, Inc. and Brandon Margolis make this motion pursuant

  to Fed. R. Civ. P. 12 (b)(6) to dismiss all federal claims against them for failure to state a cause of

  action, and for the court to decline to exercise supplemental jurisdiction over plaintiff’s state law

  claims.

             Plaintiff’s amended complaint (ECF Doc.32), contains two federal causes of action, seeking

  damages for unpaid overtime compensation pursuant to the Fair Labor Standards Act, 29 U.S.C.

  §§201, et seq. (“FLSA”), and for retaliatory discharge from employment on the basis of religion

  pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq. All other claims are

  for New York labor law violations. (¶ 1) 1 It is defendants’ position that the plaintiff’s FLSA claim

  is time barred by the applicable three-year statute of limitations, and his Title VII claim is barred for

  failure to file with the United States Equal Employment Opportunity Commission (EEOC) prior to

  filing in federal court. Defendants further respectfully submit that if plaintiff’s two federal claim are

  dismissed, there are good grounds for the court to decline to exercise supplemental jurisdiction over

  plaintiff’s state law claims.

                                              PRIOR PROCEEDINGS

             On January 19, 2018, plaintiff filed an action against the same two defendants in New York

  State court, alleging violations of New York labor laws (¶ 43). Plaintiff is represented by an

  attorney in the New York court action. (Id.)               Attempting to assert federal jurisdiction, plaintiff

  added a claim under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) to the

  Complaint he filed in the instant action. (ECF Doc. 1). However, by Order dated February 17,

  2023, the plaintiff’s complaint was dismissed with leave to file an amended complaint. (Dkt. 29).


  1
      All designations “¶ __” in parenthesis refer to the numbered paragraphs of the plaintiff’s amended complaint.


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  The Order advised plaintiff that if he files an amended complaint, it might still be subject to

  dismissal unless he alleges, “both that (1) his employment with Defendants ended on or after

  October 16, 2017 and (2) Defendants willfully violated FLSA.” (Dkt. 29, p.5, fn. I).

          On March 17, 2023, plaintiff filed an amended complaint (Dkt. 32). He alleged that his

  employment with defendants ended on November 7, 2017. (¶15), that defendants paid him as an

  independent contractor rather than as an employee to willfully avoid the overtime requirements of

  the FLSA. (¶¶16 and 31), and added a claim under Title VII (¶1). As will be argued below,

  plaintiff’s employment ended for purposes of the FLSA, no later than October 6, 2017. Further,

  plaintiff’s Title VII allegations also are deficient for failure to allege he satisfied the requirement of

  Title VII that prior to filing in federal court an individual must first file with the EEOC and receive a

  right to sue letter from that agency. Finally, if the court dismisses both of plaintiff’s federal claims,

  defendants respectfully contend that the court should decline to exercise supplemental jurisdiction

  over plaintiff’s state law claims. Among other reasons plaintiff’s action for damages related to his

  employment with defendants is still pending in state court, where he is represented by counsel.

                                          LEGAL ARGUMENT

                       A. The Legal Standard to Survive a Motion to Dismiss

          To survive a motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(6), a

  plaintiff’s complaint must contain sufficient factual allegations to plausibly support a claim for

  relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955 (2007). Although a

  plaintiff is not required to set forth every factual allegation, the complaint must allege “enough facts

  to nudge [plaintiff’s] claims across the line from conceivable to plausible.” In re Elevator Antitrust

  Litigation, 502 F.3d 47, 50 (2d Cir. 2007). “A claim is plausible ‘when the plaintiff pleads factual

  content that allows the court to draw the reasonable inference that the defendant is liable for the



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  misconduct alleged.’” Matson v. Bd. of Educ., 631 F.3d 57, 63 (2d Cir. 2011). (quoting, Ashcroft

  v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 1949 (2009)).        A court should not credit as true

  “conclusory allegations or legal conclusions masquerading as factual conclusions.” Rolon v.

  Henneman, 517 F.3d 140, 149 (2d Cir. 2008). (quoting, Smith v. Local 819 I.B.T. Pension Plan,

  291 F. 3d 236, 240 (2d Cir. 2002)). A plaintiff must come forward with more than mere recitations

  of the elements of a cause of action to survive a motion to dismiss. Harris v. Mills, 572 F.3d 66, 72

  (2d Cir. 2009).

          “A document filed pro se is to be liberally construed, and a pro se complaint, however

  inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

  lawyers.” Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197, 2200 (2007) (internal quotation

  marks and citation omitted). However, even a pro se complaint must state a plausible claim for

  relief. Meadows v. United Services, Inc., 963 F.3d 240, 243 (2d Cir. 2020).

  B. Plaintiff’s FLSA Claim is Barred Under the Applicable Three-Year Statute of Limitations

          A plaintiff must bring an FLSA claim within “two years after the cause of action

  accrued...except that a cause of action arising out of a willful violation may be commenced within

  three years after the cause of action accrued.” 29 U.S.C. §255(a). A district court “may dismiss a

  claim on statute-of-limitations grounds at the pleadings stage ‘if [the] complaint clearly shows the

  claim is out of time.’ Harris v. City of New York, 186 F. 3d 243, 250 (2d Cir. 1999).” Whiteside v.

  Hover-Davis, Inc., 995 F. 3d 315, 319 (2d Cir. 2021). However, a court may consider matters of

  which judicial notice may be taken when ruling on a 12(b) motion to dismiss. Simmons v. Trans

  Express, Inc., 16 F. 4th 357, 360 (2d Cir. 2021). A document filed in another court is one of the

  items a court may judicially notice. Id.




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          It is defendants’ position, for purposes of the instant motion only, that regardless of whether

  the amended complaint alleges willfulness sufficiently to avoid the two-year time limit for filing

  suit, the plaintiff’s FLSA claim is nevertheless barred by the three-year statute of limitations.

          An FLSA claim is commenced on the date the complaint is filed 29 U.S.C. § 256 (a). In the

  instant action, plaintiff filed the complaint on October 16, 2020. (See, ECF Doc. 1). Therefore, the

  three-year statute of limitations for defendants’ willful violations of the FLSA extend back to

  October 16, 2017.

          “The cause of action for FLSA ... claims accrues on the next regular payday following the

  work period when services are rendered.” Nakahata v. New York-Presbyterian Healthcare System,

  Inc., 723 F. 3d 192, 198 (2d Cir. 2013); see also, Shu Qin Xu v. Wai Mei Ho, 111 F. Supp 3d 274,

  277 (E.D.N.Y. 2015) (“A cause of action under the FLSA accrues on the regular payday

  immediately following the work period for which services were rendered and not properly

  compensated.”) As detailed in his supporting affirmation, defendant Margolis paid plaintiff every

  two weeks, usually on Friday. The affirmation further states that plaintiff received his final

  paycheck on October 3, 2017, because a religious holiday started at sundown the following day and

  plaintiff never returned to work after the holiday. Therefore, plaintiff had three years, but not later

  than until October 6, 2021, to commence an FLSA action for unpaid wages. Having waited until

  October 16, 2021 to file the instant action, his FLSA claim is untimely.

          The statements in the affirmation of defendant Brandon Margolis are supported by

  plaintiff’s own contentions which the court can consider because they are contained in the amended

  complaint as well as in other court filings.

          At paragraph 41 of the amended complaint, plaintiff alleges, “Three days later, on October

  11th, 2017, Defendants, Margolis, terminated Plaintiff’s employment claiming by email Effective



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  November 8th, 2017.” (sic) Putting aside the contention of defendant at paragraph 15 of his

  supporting affirmation that November 8 was a typo and the date of termination was October 8, the

  amended complaint clearly shows that plaintiff last performed services for defendants on a date

  prior to October 11, 2017. Although plaintiff does not state the actual last date he worked for

  defendants, paragraphs 38 and 39 of the amended complaint confirms the allegations in the

  Margolis affirmation that plaintiff last worked the week of October 6, 2017. In paragraph 38,

  plaintiff contends Margolis contacted him on October 7, asking him to work the next day, Sunday,

  but plaintiff refused and three days later, October 11, 2017 was sent an email confirming his

  termination. It is not logical to construe the email as confirming a future date when the email uses

  the past tense “was.”. It is much more logical that November is a typo and the October 11 email

  confirms the date of termination “was” October 8.

         But regardless of “the effective date” of the termination, the law is clear that the statute of

  limitations for FLSA claims runs from the last pay day of the last week plaintiff performed services.

  Having last spent time working for defendants, and having received his final paycheck, prior to

  October 7, 2017, the FLSA claim in the amended complaint should be dismissed.

          In a prior action brought in this court by the plaintiff, he alleged in that action, at paragraph

  16 of the complaint, “Defendant Pro Coverage terminated Plaintiff as an employee on October 8th,

  2017, a nonscheduled work day which was in fact a Jewish holiday and Plaintiff was not available

  due to religious reasons.” Babayoff v. Nassau County, et al., 18-Cv-5654 (WFK)(RLM), (ECF

  Doc.1) (E.D.N.Y., Oct. 5, 2018). Because he specifically recalled that he did not work on October

  8, 2017 because it was a religious holiday, plaintiff apparently knew that it was the exact date his

  employment ended. It would be disingenuous for plaintiff to now disavow his former recollection

  and claim he worked past October 8, 2017.



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           Further evidence of plaintiff’s last day of work can be judicially noticed in the pending state

  court action. At paragraph 2 of the complaint, verified by plaintiff’s attorney, plaintiff alleged,

  “Commencing on December 7, 2016 and continuing through October 8, 2017, Plaintiff was

  employed by Defendants as an Account Service Representative...” Babayoff v. Pro Coverage

  Group, Inc., Index No. 700940/2018, Supreme Court of the State of New York, County of Queens

  (Filed in the instant action as ECF Doc. 18-1) The state law complaint specifies the exact first and

  last days plaintiff worked for defendants, unlike in the present action, where Babayoff approximates

  the month he was hired as well as the month he was terminated.

           By taking judicial notice of plaintiff’s own prior court filings, it is clear that October 16,

  2020, the date plaintiff commenced the present action, was more than a week past the three-year

  statute of limitations of the FLSA. As such, the complaint was filed after the statute of limitations

  expired and his federal claim is time barred.

   C.   Plaintiff’s Title VII Claim is Barred by the Failure to Exhaust Administrative Remedies

           Individuals may bring Title VII claims in federal court only after filing an employment

  discrimination charge with the Equal Employment Opportunity Commission and receiving an

  EEOC right to sue letter. Tillman v. Luray’s Travel, 137 F. Supp. 3d 315, 326 (E.D.N.Y. 2015).

  Exhaustion of administrative remedies through the EEOC is a precondition for bringing Title VII

  discrimination claims in federal court. Littlejohn v. City of New York, 795 F. 3d 297, 322 (2d Cir.

  2015).

           Where a state, such as New York, establishes an agency for the filing of discrimination

  complaints, such employment discrimination charges must be filed within 300 days of the alleged

  employment practice. 42 U.S.C. § 2000e -5(e)(1); Ragone v. Atlantic Video at Manhattan Center,

  595 F. 3d 115, 126 (2nd Cir. 2010.) “The filing requirement is analogous to a statute of limitations,



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  barring all claims arising outside the 300 day period.” Russell v. County of Nassau, 696 F. Supp. 2d

  213, 226 (E.D.N.Y. 2010).

         Having failed to allege that he satisfied this required prerequisite to filing in federal court,

  plaintiff’s claim for discrimination under Title VII should be dismissed. See, Smith v. Macy’s

  Corporate, 19-CV-1749 (LDH)(RER), 2019 WL 3805101 at *2 (E.D.N.Y. Aug 13, 2019) (“Failure

  to timely file a charge of discrimination typically results in dismissal of the claim in federal

  court.”)(Copy annexed to Memo for Pro Se plaintiff).

                D. The Court Should Decline to Exercise Supplemental Jurisdiction

          If the court dismisses plaintiff’s federal claims, it is respectfully submitted that the New

  York claims, which will be the only remaining claims, should not be tried in federal court. The

  action is in the preliminary stage. No answer has been filed, no discovery has been conducted and

  no substantive motions have been ruled on as to the state law claims. The balance of judicial

  economy, fairness and comity all weigh in favor of requiring plaintiff to have the state court rule on

  issues of State law. A district court “may decline to exercise supplemental jurisdiction over a

  claim…if…the district court has dismissed all claims over which it has original jurisdiction.” 28

  U.S.C. §1367 (c)(3). See, Jiang Long Li v. Li Qin Zhao, 35 F. Supp 3d 300, 309-310 (E.D.N.Y.

  2014) (dismissing state law claims after granting summary judgment to defendant on plaintiff’s

  FLSA claims). “Once all federal claims have been dismissed, the balance of factors will usually

  point toward a declination” of the exercise of supplemental jurisdiction. Lundy v. Catholic Health

  Sys. Of Long Island Inc., 711 F. 3d 106, 118 (2d Cir. 2013). In most cases, “if a plaintiff’s federal

  claims are dismissed before trial, the state law claims should be dismissed as well.” Oneida Indian

  Nation of N.Y. v. Madison County, 665 F.3d 408, 437 (2d Cir. 2011)




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         Because New York CPLR § 205 allows a plaintiff to refile a dismissed suit within six

  months without regard to the statute of limitations, a plaintiff is not prejudiced when a district court

  declines supplemental jurisdiction over New York statutory claims. Trinidad v. N.Y. City Dept. of

  Corrections, 423 F. Supp. 2d 151, 169 (S.D.N.Y. 2006). Nevertheless, plaintiff certainly cannot

  claim prejudice where identical New York labor law claims are still pending in state court against

  the two defendants in this action. In fact, plaintiff is represented by counsel in that action. In

  contrast, he is proceeding pro se here. It can hardly be argued that plaintiff will be better served by

  pursuing his claims without a lawyer, rather than with one.

                                             CONCLUSION

       FOR THE FOREGOING REASONS, THE COMPLAINT SHOULD BE DISMISSED
  WITH PREJUDICE AS TO THE FEDERAL CLAIMS AND WITHOUT PREJUDICE AS TO
  ALL STATE CLAIMS.


  Dated: June 9, 2023
         Forest Hills, New York
                                                                _________/S/____________
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                                                                       motion to dismiss. Morris v. Northrop Grumman Corp., 37
                    2019 WL 3805101                                    F. Supp. 2d 556, 565 (E.D.N.Y. 1999). Instead, “the [c]ourt
      Only the Westlaw citation is currently available.                must merely determine whether the complaint itself is legally
               NOT FOR PUBLICATION                                     sufficient, and in doing so, it is well settled that the [c]ourt
       United States District Court, E.D. New York.                    must accept the factual allegations of the complaint as true.”
                                                                       Id. (internal citation omitted).
                  Tynekia SMITH, Plaintiff,
                            v.                                         Moreover, where, as here, a plaintiff is proceeding pro se, her
                 MACY'S CORPORATE and                                  pleadings “must be construed liberally and interpreted to raise
                                                                       the strongest arguments that they suggest.” Sykes v. Bank of
                 Jeffrey Gennette, Defendants.
                                                                       Am., 723 F.3d 399, 403 (2d Cir. 2013) (quoting Triestman v.
                    19-CV-1749 (LDH) (RER)                             Fed. Bureau of Prisons, 470 F.3d 471, 474 (2d Cir. 2006)). A
                               |                                       pro se complaint, “however inartfully pleaded, must be held
                       Signed 08/13/2019                               to less stringent standards than formal pleadings drafted by
                                                                       lawyers.” Boykin v. KeyCorp, 521 F.3d 202, 213–14 (2d Cir.
Attorneys and Law Firms                                                2008) (quoting Erickson v. Pardus, 55 U.S. 89, 94 (2007) (per
                                                                       curiam)).
Tynekia Smith, Elmont, NY, pro se.
                                                                       An in forma pauperis action shall be dismissed where the
                                                                       court determines that the action “(i) is frivolous or malicious;
              MEMORANDUM AND ORDER                                     (ii) fails to state a claim upon which relief may be granted; or
                                                                       (iii) seeks monetary relief against a defendant who is immune
LaSHANN DeARCY HALL, District Judge:
                                                                       from such relief.” 28 U.S.C. § 1915(e)(2)(B). However, if a
 *1 Plaintiff Tynekia Smith, proceeding pro se, brings the             liberal reading of the complaint “gives any indication that a
instant action against his former employer, Macy's Corporate           valid claim might be stated,” the Court must grant leave to
and its CEO Jeffrey Gennette, asserting claims for unlawful            amend. See Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.
termianation and failure to accommodate under Title VII of             2000) (internal quotation marks and citation omitted).
the Civil Rights Act of 1964 (“Title VII”). While the statement
of facts submitted by the Plaintiff is brief, she alleges that
she was improperly terminated during her maternity leave.                                     DISCUSSION
(Compl. at 5, ECF No. 1.) She seeks monetary damages and
reinstatement of her position. Plaintiff's request to proceed in       I. Title VII and the Pregnancy Discrimination Act
forma pauperis is granted. For the reasons discussed below,            Plaintiff brings the instant action pursuant to Title VII. Title
Plaintiff is granted thirty (30) days from the date of this            VII prohibits an employer from discriminating against any
memorandum and order to submit an amended complaint.                   individual with respect to “compensation, terms, conditions
                                                                       or privileges of employment, because of such individual's
                                                                       race, color, religion, sex or national origin.” 42 U.S.C. §
                                                                       2000e-2(a)(1). Title VII was amended by the Pregnancy
                 STANDARD OF REVIEW
                                                                       Discrimination Act (“PDA”), 42 U.S.C. § 2000e(k), to make
A complaint “must contain sufficient factual matter, accepted          clear that “discrimination based on a woman's pregnancy is,
as true, to ‘state a claim to relief that is plausible on its face.’   on its face, discrimination because of her sex.” Newport News
” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell            Shipbuilding & Dry Dock Co. v. E.E.O.C., 462 U.S. 669, 684
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim              (1983). Specifically, the PDA clarified that discrimination
is facially plausible when the alleged facts allow the court           “on the basis of sex” includes discrimination “because of
to draw a “reasonable inference” of a defendant's liability            or on the basis of pregnancy, childbirth, or related medical
for the alleged misconduct. Iqbal, 556 U.S. at 678. While              conditions; and women affected by pregnancy, childbirth,
this standard requires more than a “sheer possibility” of a            or related medical conditions shall be treated the same for
defendant's liability, id., “[i]t is not the [c]ourt's function to     all employment-related purposes ... as other persons not so
weigh the evidence that might be presented at trial” on a


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                                                                          alleges that she sent a letter to the CEO, but does not allege
affected but similar in their ability or inability to work.” 42
                                                                          that she otherwise filed a charge of discrimination with the
U.S.C. § 2000e(k).
                                                                          EEOC or any other appropriate state agency. (Compl. at
                                                                          6.) Plaintiff also alleges that the conduct giving rise to her
 *2 While discrimination claims predicated on a woman's
                                                                          discrimination claim occurred on December 4, 2016—over
pregnancy may be rightly brought under Title VII, they
                                                                          two years before filing the instant action. Therefore, unless
are subject to Title VII's exhaustion requirements. That is,
                                                                          Plaintiff has already timely filed a charge of discrimination,
Plaintiff is required to file an administrative charge prior
                                                                          it is not likely that a subsequent filing would be timely in
to commencing suit in federal district court. 42 U.S.C.
                                                                          these circumstances. For these reasons, Plaintiff's complaint
§ 2000e-5(e); Fowlkes v. Ironworkers Local 40, 790 F.3d
                                                                          is dismissed without prejudice, for failure to state a claim. 28
378, 384 (2d Cir. 2015) (discussing Title VII exhaustion
                                                                          U.S.C. § 1915(e)(2)(B).
standard). “The purpose of this exhaustion requirement is to
give the administrative agency the opportunity to investigate,
mediate, and take remedial action.” Brown v. Coach Stores,
Inc., 163 F.3d 706, 712 (2d Cir. 1998) (internal quotation                                       CONCLUSION
marks omitted). “The administrative exhaustion requirement
applies to pro se and counseled plaintiffs alike.” Fowlkes,               In light of the Court's duty to liberally construe Plaintiff's
790 F.3d at 384 (citing Pikulin v. City Univ. of N.Y., 176 F.3d           complaint, Plaintiff is granted leave to file an amended
598, 599-600 (2d Cir. 1999) (per curiam)). In New York,                   complaint within 30 days from the entry of this Order. Cruz v.
a plaintiff must file her charge with the Equal Employment                Gomez, 202 F.3d 593 (2d Cir. 2000). The amended complaint
Opportunity Commission (“EEOC”) or state or local agency                  must be captioned as an “Amended Complaint” and bear the
within 300 days of the alleged discrimination. See 42 U.S.C.              same docket number as this order. Plaintiff must also set
§ 2000e-5(e)(1); McGullam v. Cedar Graphics, Inc., 609                    forth the date she filed a charge of discrimination with the
F.3d 70, 75 (2d Cir. 2010); Taylor v. City of New York,                   EEOC, and, if available, she should include a copy of the
207 F.Supp.3d 293, 300 (S.D.N.Y. 2016). “Filing a timely                  charge of discrimination as an exhibit. Plaintiff must include
charge of discrimination with the EEOC is not a jurisdictional            the Notice of Right to Sue issued by the EEOC. Failure
prerequisite to suit in federal court, but a requirement that,            to file an amended complaint with 30 days, as directed by
like a statute of limitations, is subject to waiver, estoppel and         this memorandum and order, will result in Plaintiff's case
equitable tolling.” Francis v. City of New York, 235 F.3d 763,            being dismissed for failure to prosecute. The Court certifies
767 (2d Cir. 2000) (internal quotation marks omitted); see                pursuant to 28 U.S.C. § 1915(a)(3) that any appeal would not
also Fernandez v. Chertoff, 471 F.3d 45, 58 (2d Cir. 2006)                be taken in good faith and therefore in forma pauperis status
(“Because [the] failure to exhaust [one's] administrative                 is denied for purpose of an appeal. Coppedge v. United States,
remedies is not a jurisdictional defect, it is subject to equitable       269 U.S. 438, 444-45 (1962).
defenses.”).
                                                                          SO ORDERED.
Failure to timely file a charge of discrimination typically
results in dismissal of the claim in federal court. Brundage
                                                                          All Citations
v. U.S. Dep't of Veterans Affairs, No. 06 Civ. 6613, 2010
WL 3632705, at *3 (S.D.N.Y. Sept. 16, 2010). Here, Plaintiff              Not Reported in Fed. Supp., 2019 WL 3805101

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